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                    EXHIBIT 3
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                            UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF VIRGINIA
                                 Charlottesville Division

   ELIZABETH SINES, SETH WISPELWEY,
   MARISSA BLAIR, TYLER MAGILL, APRIL
   MUNIZ, HANNAH PEARCE, MARCUS
   MARTIN, JOHN DOE, JANE DOE 1, JANE
   DOE 2, and JANE DOE 3,

                                 Plaintiffs,
   v.

   JASON KESSLER, RICHARD SPENCER,
   CHRISTOPHER CANTWELL, JAMES
   ALEX FIELDS, JR., VANGUARD
   AMERICA, ANDREW ANGLIN,                               Civil Action No. 3:17-cv-00072-NKM
   MOONBASE HOLDINGS, LLC, ROBERT
   “AZZMADOR” RAY, NATHAN DAMIGO,
   ELLIOT KLINE a/k/a/ ELI MOSELY,
   IDENTITY EVROPA, MATTHEW                                  JURY TRIAL DEMANDED
   HEIMBACH, MATTHEW PARROTT a/k/a
   DAVID MATTHEW PARROTT,
   TRADITIONALIST WORKER PARTY,
   MICHAEL HILL, MICHAEL TUBBS,
   LEAGUE OF THE SOUTH, JEFF SCHOEP,
   NATIONAL SOCIALIST MOVEMENT,
   NATIONALIST FRONT, AUGUSTUS SOL
   INVICTUS, FRATERNAL ORDER OF THE
   ALT-KNIGHTS, MICHAEL “ENOCH”
   PEINOVICH, LOYAL WHITE KNIGHTS OF
   THE KU KLUX KLAN, and EAST COAST
   KNIGHTS OF THE KU KLUX KLAN a/k/a
   EAST COAST KNIGHTS OF THE TRUE
   INVISIBLE EMPIRE,

                                 Defendants.


                                DECLARATION OF JANE DOE 3

         I, Jane Doe 3, declare as follows.

         1.      I am over the age of eighteen years, and the facts set forth herein are true and

  correct to the best of my personal knowledge, information, and belief.
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           2.    I am a female Jewish resident of Charlottesville, Virginia. I attend Congregation

  Beth Israel in Charlottesville.

           3.    My sister is Jane Doe 1, and my mother is Jane Doe 2.

           4.    On August 12, 2017, I peacefully protested Defendants’ neo-Nazi and white

  supremacist march in Charlottesville, along with Jane Doe 1 and Jane Doe 2.

           5.    Throughout the day, the marchers carried anti-Semitic signs, wore Nazi swastikas,

  and yelled and chanted anti-Semitic and pro-Nazi slogans, such as “Heil Hitler” and “blood and

  soil.”

           6.    During the protest, Jane Doe 1 and I were part of a group of counter protesters on

  Fourth Street in downtown Charlottesville.

           7.    While we were peacefully protesting, Defendant Alex Fields intentionally drove a

  car directly into our crowd of defenseless people.

           8.    I managed to stay out of the way, but Fields’ car came so close to hitting me, that

  I was sprayed with the blood of the victims who were in his path.

           9.    Fields directly hit Jane Doe 1 with his car. There was so much commotion after

  the attack, that I initially could not find Jane Doe 1. I eventually found her lying on the ground,

  completely in shock and seriously injured. She was bleeding from her head, and we later learned

  that the crash broke both of her legs, and caused her to suffer severe contusions and a

  concussion.

           10.   I remained by my sister’s side and tried to stop her bleeding while we waited

  almost a half-hour for an ambulance to take us to the emergency room. While I was in the

  ambulance on the way to the hospital, I called my mother, Jane Doe 2, to let her know what

  happened. My mother rushed to the hospital and when she arrived I collapsed into her arms.



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  Because the hospital was on lockdown, my mother and I were initially not allowed inside to see

  Jane Doe 1 or get updates on her condition, and waited in extreme worry for hours to see her.

          11.    I suffer severe emotional distress as a result of the events on August 12. Since the

  attack, I began suffering from severe anxiety, have had difficulty sleeping and focusing, and

  have become hyper-vigilant and severely anxious in public spaces. I also spend a significant

  amount of time taking care of my sister, Jane Doe 1, and have not been able to work or seek

  employment as a result.

          12.    I have met with a security expert and have taken steps to increase my safety and

  guard against further harm from Defendants and their supporters.

          13.    I fear that if my identity is disclosed in this action, I will be targeted by

  Defendants and/or their supporters and sympathizers because I am a Jewish plaintiff and was a

  counter-protester, and will be subjected to threats, harassment, violence, and other physical and

  mental harm. And, if my identity is disclosed, it would also reveal the identifies of my close

  relatives -- including my mother Jane Doe 2 and my sister Jane Doe 1, who was already attacked

  and severely injured by Defendant Fields, and subject them to similar physical and mental harm.

          I declare under penalty of perjury under the laws of the United States of America that the

  above is true and correct. Executed this 13th day of November, 2017 in Charlottesville,

  Virginia.




                                                         /s/ Jane Doe 3
                                                         Jane Doe 3

  153291206




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